    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 1 of 10 PageID #:176




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                                             )
                                             )       Case No. 14 CR 562 -2, 4
               v.                            )
                                             )
                                             )
FRANCISCO NARVAEZ, and                       )
MONTRAIL KEY                                 )


                         MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       The government has moved in limine to admit certain evidence at trial pursuant to

Federal Rule of Evidence 404(b). For the reasons discussed below, the government’s motion is

granted.

                                       BACKGROUND

       On January 8, 2015, the grand jury returned an indictment against Defendants Abelardo

Dominguez, Francisco Narvaez, and Montrail Key. Count One of the Indictment charges

Defendant Dominguez with knowingly and intentionally attempting to possess with intent to

distribute a controlled substance, namely, a quantity of a mixture and substance containing a

detectable amount of methamphetamine, in violation of 21 U.S.C. § 846. Count Two charges

Defendant Narvaez with forcibly assaulting a federal agent with a deadly or dangerous weapon,

in violation of 18 U.S.C. §§ 111(a) and 111(b). Count Three charges Defendant Key with

forcibly assaulting a federal agent with a deadly or dangerous weapon, in violation of 18 U.S.C.

§§ 111(a) and 111(b). The indictment also contains forfeiture allegations against Defendant

Dominguez.


                                                 1
    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 2 of 10 PageID #:177




       The government has proffered that its evidence will show that in October 2014,

Defendant Dominguez had discussions with a Drug Enforcement Agency (“DEA”) undercover

agent (“UC”) regarding the purchase of approximately 10 pounds of methamphetamine. Law

enforcement recorded these conversations. On October 3, 2014, the UC met Dominguez in Oak

Lawn, Illinois and Dominguez told the UC that he wanted to purchase the methamphetamine

from him. Dominguez told him, “Let me make a call for the papers and see if he wants to bring

them.” Dominguez then placed a call to a telephone subscribed to by Defendant Narvaez.

During that call, Dominguez said: “Where are you at? Are the tacos there?” Dominguez told

the UC that his associate did not want to bring the money then “because he is waiting on another

person. Not all of them [the pounds of methamphetamine] are for one person.” He then agreed

to meet the UC later that day to finalize the details of the transaction.

       On that same day, Dominguez and the UC had several additional recorded telephone

conversations. During these conversations, Dominguez told the UC that he was waiting for his

associates to get the money together to purchase the methamphetamine. He further told him that

he currently had enough money to purchase three pounds of methamphetamine at the price of

$15,000 per pound. Dominguez and the UC agreed to meet thereafter at a restaurant.

       Narvaez subsequently drove Dominguez to the restaurant where Dominguez was meeting

the UC. While Dominguez went into the restaurant, Narvaez remained in the truck. Defendant

Key trailed the truck into the parking lot in a Chevrolet Malibu with Individual A in the

passenger’s seat of the Malibu. Key parked the Malibu near the truck in the parking lot.

Individual A then exited the Malibu carrying a draw-string bag containing $30,000 in cash,

entered the rear of the truck, and handed the bag with the cash to Narvaez.




                                                   2
    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 3 of 10 PageID #:178




       In the meantime, Dominguez and the UC remained inside the restaurant discussing the

transaction. Dominguez told the UC that he only had part of the money, and asked the UC to

wait after the transaction so that Dominguez could return with more money to purchase the

remainder of the methamphetamine. Dominguez said, “Yes, I’m parked in the back, but he’s

going to want more, wait for me another hour, yes, and I’ll return with the rest.” The UC told

Dominguez that he had four pounds of methamphetamine waiting in a cooler. Dominguez told

the UC, “I’m there in a Dodge truck, a grey truck.” Dominguez also told the UC that the buy

money was in the truck -- “It’s there with my partner …. in a bag.” The UC then told

Dominguez that he wanted to see the money, and would then turn over the cooler of

methamphetamine to Dominguez. The phone subscribed to by Narvaez then called Dominguez.

During the call, Dominguez said “No, he’s already here. Are you in the truck? I have this other

guy with me and he wants to see the papers.”

       Dominguez and the UC then left the restaurant and walked over to the truck. Narvaez

was still in the truck. When the UC opened the rear door to the truck, Narvaez passed the draw-

string bag containing the $30,000 to the rear of the truck where the UC opened it and examined

the money in front of Narvaez, Individual A, and Dominguez. The UC then called for the cooler

to be brought over to the truck. After Dominguez looked at it, the cooler was loaded into the bed

of the truck. While Dominguez went back into the restaurant, Narvaez drove the truck out of the

parking lot. Individual A remained in the rear seat of the truck. In addition, Defendant Key

followed Narvaez out of the parking lot in the Malibu. DEA agents executed a traffic stop on

both vehicles about one black from the restaurant at a traffic light. DEA vehicles surrounded the

truck and the Malibu on three sides. Approximately seven agents who were wearing bullet proof

vests identified themselves as law enforcement, exited their vehicles, and commanded Key and



                                                3
    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 4 of 10 PageID #:179




Narvaez to exit their vehicles. Narvaez did not abide by the command. Instead, he put the truck

in reverse, bumping into the Malibu. Key jumped the curb with the Malibu, drove around the

truck and headed toward one agent. The Malibu pinned the agent to a pole and then swerved and

proceeded in the direction of another DEA agent. Narvaez, driving the truck, followed the

Malibu up onto the curb and headed directly toward the agent. The other agents fired shots at

Defendants Key and Narvaez in order to prevent them from running over the agents.

       Both Key and Narvaez escaped the scene and led the officers on a high speed chase.

Local law enforcement ultimately pulled Key over and arrested him. Narvaez had pulled the

truck over and fled on foot. Agents found him hiding in a nearby apartment building. In the

same stairwell where he was hiding, agents found an additional $5,000 in cash.

       The government moves the Court to introduce evidence of the drug transaction with

which Defendant Dominguez is charged in Count One against Narvaez and Key. Neither

Narvaez nor Key is charged with the drug transaction in Count One. Specifically, the

government seeks to introduce this drug transaction evidence pursuant to Rule 404(b) to prove

Defendant Narvaez’s and Defendant Key’s motive to assault the officers as charged in Counts

Two and Three. Defendant Key does not object to the introduction of this evidence pursuant to

Rule 404(b). Defendant Narvaez, however, objects to its admission pursuant to Federal Rule of

Evidence 403.

                                      LEGAL STANDARD

       Trial courts have broad discretion in ruling on evidentiary issues before trial. See Jenkins

v. Chrysler Motors Corp., 316 F.3d 663, 664 (7th Cir. 2002); United States v. Lillie, No. 08 CR

717, 2009 WL 3518157, at *1 (N.D. Ill. Oct. 28, 2009). “Trial courts issue rulings on motions in

limine to guide the parties on what evidence it will admit later in trial.” Perry v. City of Chicago,



                                                 4
    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 5 of 10 PageID #:180




733 F.3d 248, 252 (7th Cir. 2013). Accordingly, “[a]lthough the Federal Rules of Evidence do

not explicitly authorize in limine rulings, the practice has developed pursuant to the district

court’s inherent authority to manage the course of trials.” Luce v. United States, 469 U.S. 38, 41

n.4, 105 S. Ct. 460, 83 L. Ed. 2d 443 (1984). An in limine ruling avoids delays and allows the

parties an opportunity to prepare themselves and witnesses for the introduction or exclusion of

the evidence at issue. See Wilson v. Williams, 182 F.3d 562, 566 (7th Cir. 1999); Jonasson v.

Lutheran Child & Family Servs., 115 F.3d 436, 440 (7th Cir. 1997) (“The prudent use of the in

limine motion sharpens the focus of later trial proceedings and permits the parties to focus their

preparation on those matters that will be considered by the jury”); United States v. Connelly, 874

F.2d 412, 416 (7th Cir. 1989). Ultimately, an in limine motion “performs a gatekeeping function

and permits the trial judge to eliminate from further consideration evidentiary submissions that

clearly ought not be presented to the jury because they clearly would be inadmissible for any

purpose.” Jonasson, 115 F.3d at 440.

                                            ANALYSIS

       The government seeks to introduce the drug transaction evidence against Defendant

Narvaez pursuant to Rule 404(b). “Rule 404(b) prohibits evidence of a defendant’s other crimes,

wrongs, or acts as proof of his propensity to commit the charged offense, but allows such

evidence for other purposes, including (but not limited to) motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” United States v.

Lee, 724 F.3d 968, 975 (7th Cir. 2013) (citing Fed. R. Evid. 404(b)). “Rule 404(b) is not just

concerned with the ultimate conclusion, but also with the chain of reasoning that supports the

non-propensity purpose for admitting the evidence.” United States v. Gomez, 763 F.3d 845, 856

(7th Cir. 2014) (en banc) (citing United States v. Reed, 744 F.3d 519, 524-25 (7th Cir. 2014)).



                                                  5
     Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 6 of 10 PageID #:181




“In other words, the rule allows the use of other-act evidence only when its admission is

supported by some propensity-free chain of reasoning.” Gomez, 763 F.3d at 856. “[T]he district

court should not just ask whether the proposed other-act evidence is relevant to a non-propensity

purpose but how exactly the evidence is relevant to that purpose—or more specifically, how the

evidence is relevant without relying on a propensity inference.” Id. Further, if the proponent of

the evidence “can make this initial showing, the district court must in every case assess whether

the probative value of the other-act evidence is substantially outweighed by the risk of unfair

prejudice and may exclude the evidence under Rule 403 if the risk is too great.” Id. at 860. “The

court’s Rule 403 balancing should take account of the extent to which the non-propensity fact for

which the evidence is offered actually is at issue in the case.” Id.

       Specifically, the government seeks to introduce evidence of the drug transaction to show

Defendant Narvaez’s motive for forcibly assaulting federal agents as charged in Count Two and

Defendant Key’s motive for forcibly assaulting federal agents as charged in Count Three. As

noted above, Defendant Key does not object to the introduction of this evidence for such a

purpose.

I.     The Drug Transaction Evidence is Directly Relevant to Defendant’s Motive

       The evidence of the methamphetamine transaction is directly relevant to an issue at trial -

- Defendant’s motive for assaulting the federal agents. In order to convict Defendant Narvaez of

forcibly assaulting a federal agent with a deadly or dangerous weapon, the government must

prove that Defendant: 1) forcibly 2) assaulted, resisted, opposed, impeded, intimidated, or

interfered with 3) a federal officer 4) in the performance of his duties, and 5) used a deadly and

dangerous weapon in the commission of such acts. 18 U.S.C. §§ 111(a) & 111(b). See United

States v. Vallery, 437 F.3d 626, 630 (7th Cir. 2006). See also United States v. Siler, 734 F.3d



                                                  6
    Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 7 of 10 PageID #:182




1290, 1295-97 (11th Cir. 2013). Subsection (b) of Section 111 provides for an enhanced penalty

if the defendant “uses a deadly or dangerous weapon” or “inflicts bodily injury”. 18 U.S.C. §

111(b).

          The Seventh Circuit in United States v. Woody, 55 F.3d 1257 (7th Cir. 1995), held that

Section 111 is a general intent, not specific intent, crime. In order to establish a violation of

Section 111, the government has to prove that the defendant “intended to commit a forcible

assault.” Id. at 1265–66. See also United States v. Ricketts, 146 F.3d 492, 497 (7th Cir. 1998).

The government can prove general intent by establishing that the defendant acted with

knowledge of his conduct. See United States v. Graham, 431 F.3d 585, 590 (7th Cir. 2005);

Woody, 55 F.3d at 1265-66.

          Here, the government can establish Defendant’s intent to assault the DEA agents through,

among other evidence, motive. The government intends to argue that the methamphetamine

transaction caused Defendant Narvaez to attempt to run the agents over because he did not want

to be charged with the narcotics transaction. In other words, it was Defendant Narvaez’s motive

for the charged crime of forcibly assaulting a federal agent. This evidence of motive provides a

“propensity-free chain of reasoning for its admission.” Gomez, 763 F.3d at 869. Although

Defendant Narvaez argues that the reason for his flight is irrelevant, the Court disagrees because

it shows why he might be desperate enough to flee that he would intentionally injure a federal

agent. Indeed, when the officers surrounded Narvaez, Narvaez did not comply with their

directives but instead chose to flee in the truck that contained the cooler with the

methamphetamines. In fleeing in the truck, he had to drive on the sidewalk and then aimed the

vehicle at the agents.




                                                  7
      Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 8 of 10 PageID #:183




        In United States v. Schmitt, 770 F.3d 524 (7th Cir. 2014), the Seventh Circuit addressed a

similar issue regarding the admissibility of motive evidence pursuant to Rule 404(b). In Schmitt,

the defendant was charged with being a felon in possession of a firearm. Law enforcement

agents had seized the firearm from Schmitt’s residence where they also found drugs and

evidence of drug dealing. The Seventh Circuit held that admission of the drug evidence was

relevant to establish the defendant’s motive for possessing the firearm. “The testimony that

Schmitt was a drug dealer and that drugs were found in his home when he was arrested was

relevant to suggest to the jury why he would have a firearm.” Schmitt, 770 F.3d at 534. As such,

the district court properly admitted it to establish the defendant’s motive.

        Defendant Narvaez contends that he is willing to introduce an alternative motive for his

flight—the existence of state arrest warrants for his arrest. While this evidence would provide

some explanation for his flight and attempt to run over the federal agents, as the government

notes, it provides much less of a motive than a narcotics deal immediately prior to law

enforcement stopping him with a cooler full of methamphetamines. Moreover, his evidence

would place the government agents in a difficult position when testifying at trial because they

did not pull him over because of his state arrest warrants.

II.     Rule 403 Does Not Preclude the Admission of the Evidence

        The Court turns to the next question – “whether the probative value of the [motive]

evidence is substantially outweighed by the risk of unfair prejudice.” Gomez, 763 at 860. If so,

the Court “may exclude the evidence under Rule 403 if the risk is too great.” Id. “The more

probative the evidence, the more the court will tolerate some risk of prejudice, while less

probative evidence will be received only if the risk of prejudice is more remote.” United States

v. Boros, 668 F.3d 901, 909 (7th Cir. 2012) (quoting United States v. Vargas, 552 F.3d 550, 557



                                                  8
       Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 9 of 10 PageID #:184




(7th Cir. 2008)). Rule 403 excludes “other-act evidence that may be slightly probative through a

non-propensity theory but has a high likelihood of creating unfair prejudice by leading a jury to

draw conclusions based on propensity.” United States v. Chapman, 765 F.3d 720, 726 (7th Cir.

2014) (quoting Gomez, 763 F.3d. at 857).

         As discussed above, the probative value of the drug transaction evidence is significant

given that it explains why Defendant would be willing to assault a federal officer in order to

avoid getting caught with a cooler full of methamphetamines and charged with a federal

violation for a drug transaction. The evidence is highly probative of why Defendant would

assault a federal officer. See Schmitt, 770 F.3d at 535-36 (drug evidence highly probative of the

defendant’s motive and intent). Indeed, the drug evidence will help contextualize the crime and

prove why Defendant Narvaez acted with knowledge of his forcible assault on the law

enforcement officers. See id. The value of this evidence is not substantially outweighed by the

risk of unfair prejudice. See United States v. Eads, 729 F.3d 769, 777 (7th Cir. 2013) (“Because

all probative evidence is to some extent prejudicial, we have consistently emphasized that Rule

403 balancing turns on whether the prejudice is unfair”) (quoting United States v. McKibbins,

656 F.3d 707, 712 (7th Cir. 2011)). The Court will instruct the jury that Defendant Narvaez is

not charged with the drug transaction and Defendant is free to make such an argument to the jury

as well. Furthermore, the Court will give the jury a limiting instruction regarding the use of this

evidence which will help “in reducing or eliminating any possible unfair prejudice from the

introduction of Rule 404(b) evidence.” United States v. Clark, 774 F.3d 1108, 1116 (7th Cir.

2014). See also Gomez, 763 F.3d at 860-61. Accordingly, the Court grants the government’s

motion to admit this evidence.

III.     Defendant Narvaez’s Request for Severance is Moot



                                                  9
   Case: 1:14-cr-00562 Document #: 77 Filed: 06/29/15 Page 10 of 10 PageID #:185




       Defendant Narvaez also requested severance of his trial from his co-Defendants if the

Court excluded this motive evidence. Given that the Court grants the government’s motion,

Defendant Narvaez’s request for a severance is denied as moot.

                                       CONCLUSION

       For the foregoing reasons, the government’s motion in limine is granted.



DATED: June 29, 2015                                       ENTERED



                                                           ______________________________
                                                           AMY J. ST. EVE
                                                           U.S. District Court Judge




                                              10
